     Case 2:08-cr-00093-KJM-AC Document 368 Filed 05/05/10 Page 1 of 4


 1   LAW OFFICES OF SCOTT L. TEDMON
     A Professional Corporation
 2   SCOTT L. TEDMON, CA. BAR # 96171
     1050 Fulton Avenue, Suite 218
 3   Sacramento, California 95825
     Telephone: (916) 482-4545
 4   Facsimile: (916) 482-4550
     Email: tedmonlaw@comcast.net
 5
     Attorney for Defendant
 6   CHARLES HEAD
 7
 8
                              IN THE UNITED STATES DISTRICT COURT
 9
                           FOR THE EASTERN DISTRICT OF CALIFORNIA
10
11
     UNITED STATES OF AMERICA,                     )
12                                                 )
                            Plaintiff,             )       Case No.: Cr. S-08-093 FCD
13                                                 )                 Cr. S-08-116 FCD
                                                   )
14                  v.                             )
                                                   )       STIPULATION AND
15                                                 )       ORDER RE: DEFENDANT CHARLES
                                                   )       HEAD’S AMENDED SPECIAL
16   CHARLES HEAD, et al.,                         )       CONDITIONS OF RELEASE
                                                   )
17                                                 )
                                                   )
18                          Defendants.            )
                                                   )
19
20          The United States of America, through Assistant U.S. Attorney Ellen V. Endrizzi, and
21   defendant Charles Head, through his counsel Scott L. Tedmon, hereby stipulate that as to defendant
22   Charles Head’s special conditions of release, Special Condition 4 be amended as reflected in the
23   attached, “AMENDED SPECIAL CONDITIONS OF RELEASE.” U.S. Pretrial Services Officer
24   Gina Faubion, counsel for the government, and counsel for defendant Charles Head jointly drafted
25   the attached amended special conditions of release and each party agrees with the conditions as set
26   forth therein. The parties further agree the Amended Special Conditions of Release shall be attached
27   to the Notice to Defendant Being Released and that defendant Charles Head accept the Amended
28

                                                   - 1 -
     Case 2:08-cr-00093-KJM-AC Document 368 Filed 05/05/10 Page 2 of 4


 1   Special Conditions of Release by signing the Acknowledgment of Defendant prior to his release.
 2   IT IS SO STIPULATED.
 3   DATED: May 4, 2010                            BENJAMIN B. WAGNER
                                                   United States Attorney
 4
                                                    /s/ Ellen V. Endrizzi
 5                                                 ELLEN V. ENDRIZZI
                                                   Assistant U.S. Attorney
 6
     DATED: May 4, 2010                            LAW OFFICES OF SCOTT L. TEDMON
 7
                                                    /s/ Scott L. Tedmon
 8                                                 SCOTT L. TEDMON
                                                   Attorney for Defendant Charles Head
 9
10
11
12                                                ORDER
13          GOOD CAUSE APPEARING and based upon the above stipulation, IT IS HEREBY
14   ORDERED that as to defendant Charles Head’s special conditions of release, Special Condition 4
15   is amended as reflected in the attached AMENDED SPECIAL CONDITIONS OF RELEASE.
16         IT IS FURTHER ORDERED that the attached AMENDED SPECIAL CONDITIONS OF
17   RELEASE shall be attached to the Notice to Defendant Being Released and that defendant Charles
18   Head accept the Amended Special Conditions of Release by signing the Acknowledgment of
19   Defendant prior to his release.
20          IT IS FURTHER ORDERED that the AMENDED SPECIAL CONDITIONS OF
21   RELEASE for defendant Charles Head shall be filed as part of the record in this case and the
22   amended special conditions of release supersedes any and all special conditions of release previously
23   ordered by the Court.
24   IT IS SO ORDERED.
25   DATED: May 4, 2010.
26
27
28

                                                   - 2 -
     Case 2:08-cr-00093-KJM-AC Document 368 Filed 05/05/10 Page 3 of 4


                  AMENDED SPECIAL CONDITIONS OF RELEASE

                                                    RE: Head, Charles
                                                    Doc. No. 2:08-CR-093-FCD/
                                                    2:08-CR-0116-FCD

1.   You shall report to and comply with the rules and regulations of the Pretrial Services
     Agency;

2.   You shall report in person to the Pretrial Services Agency on the first working day
     following your release from custody;

3.   You are to reside at a location approved by the pretrial services officer and not move or
     absent yourself from this residence without the prior approval of the pretrial services
     officer;

4.   Your travel is restricted to the Western District of Pennsylvania and Eastern District of
     California without the prior consent of the pretrial services officer. In addition, all travel
     between these two districts should be via direct (non-stop) flights. If travel is a via direct
     flight, then the third-party custodian or defense counsel must accompany you to the
     security check point at the airport. Upon arrival at your destination, the third-party
     custodian or defense counsel shall pick you up and escort you directly to court and/or
     your final destination. If the flight is not a direct (non-stop) flight, then you must be
     personally accompanied by your third-party custodian or defense counsel throughout
     duration of the flight. If the flight is a direct flight, to or from the San Francisco
     International Airport, then you are authorized to travel to the Northern District of
     California solely for the purpose of facilitating this travel arrangement. When
     departing on a flight from the San Francisco International Airport, a third-party
     custodian or defense counsel must accompany you to the security check point at the
     airport. When arriving on a flight to the San Francisco International Airport, the
     third-party custodian or defense counsel shall pick you up and escort you directly to
     court and/or your final destination;

5.   You shall not possess a firearm/ammunition, destructive device, or other dangerous
     weapon; additionally, you shall provide written proof of divestment of all
     firearms/ammunition currently under your control;

6.   You shall seek and/or maintain employment as approved by Pretrial Services and provide
     proof of the same as requested by your pretrial services officer. You shall not be
     employed by any businesses that involve mortgage, real estate, or any forms of
     investment;

7.   You shall report any contact with law enforcement to your pretrial services officer within
     24 hours;
      Case 2:08-cr-00093-KJM-AC Document 368 Filed 05/05/10 Page 4 of 4


RE: Head, Charles
Page 2

8.    You shall surrender your passport to the Clerk of the U.S. District Court and you shall
      not apply for any travel documents during the pendency of this case;

9.    You shall not have contact with the co-defendants in this case, for the exception of family
      members, unless in the presence of defense counsel;

10.   You shall refrain from excessive use of alcohol or any use of a narcotic drug or other
      controlled substance without a prescription by a licensed medical practitioner; and you
      shall notify Pretrial Services immediately of any prescribed medications. However,
      medicinal marijuana, prescribed or not, may not be used;

11.   You shall submit to drug or alcohol testing as approved by the pretrial services officer;

12.   You shall submit to DNA testing as directed by the U.S. Attorney’s Office;

13    You shall not apply for any lines of credit or other bank loans without prior approval from
      Pretrial Services;

14.   You shall participate in the following home confinement program components and abide
      by all the requirements of the program, which will include electronic monitoring and a
      GPS tracking device.

      CURFEW: You are subject to a curfew as directed by pretrial services.

      You shall, in accordance with this release order, have a home monitoring unit installed in
      your residence, a radio frequency transmitter device attached to your person, and shall
      comply with all instructions for the use and operation of said devices as given to you by
      the Pretrial Services Agency and employees of the monitoring company. You shall be
      subject to home monitoring program with a GPS tracking device; and,

15.   You shall be released to the third-party custody of your father, Charles Head, and step-
      mother, Georgetta Head, and you shall reside at their residence in Pittsburgh,
      Pennsylvania.


Date: May 4, 2010
(Amended Condition No. 4)
